Case 8:11-cv-01039-JSM-AEP Document 28 Filed 09/05/12 Page 1 of 2 PageID 176




                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


TINA O'HERN and DENNIS O'HERN,

       Plaintiffs,

v.                                                Case No. 8:11-cv-1039-T-30AEP

STEPHEN A. BORTONE, PATRICIA
KENNEDY and CATHY READINGER,

      Defendants.
_____________________________________/


                                         ORDER

       THIS CAUSE comes before the Court upon Plaintiffs’ Corrected Motion for Leave

To File Second Amended Complaint and Demand for Jury Trial (Dkt. # 27). Although the

requested amendment to predicate counts on both the First and Fifth Amendments appears

futile, the Court will allow amendment this last time in order for Plaintiffs to submit their

complaint in the form they would like it to appear on appeal, if they so elect.

       It is therefore ORDERED AND ADJUDGED that:

       1.     Plaintiffs’ Corrected Motion for Leave to File Second Amended Complaint

              and Demand for Jury Trial (Dkt. #27) is GRANTED.

       2.     Plaintiffs are directed to file their second amended complaint within ten (10)

              days.
Case 8:11-cv-01039-JSM-AEP Document 28 Filed 09/05/12 Page 2 of 2 PageID 177



         3.        Defendants’ Dispositive Motion to Dismiss Amended Complaint and

                   Memorandum of Law (Dkt. #21) is DENIED as moot.

         DONE and ORDERED in Tampa, Florida on September 5, 2012.




Copies furnished to:
Counsel/Parties of Record
S:\Odd\2011\11-cv-1039.mtamend.frm




                                          Page 2 of 2
